Case 1:24-cv-07975-AT Document 80 Filed 01/28/25 Pagelof1

USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
Jane Doe, DOC #:
DATE FILED: 1/28/2025
Plaintiff,
-against- 24 Civ. 7975 (AT)
SEAN COMBS, DADDY’S HOUSE ORDER
RECORDINGS INC., CE OPCO, LLC d/b/a
COMBS GLOBAL f/k/a COMBS

ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC., BAD
BOY PRODUCTIONS HOLDINGS, INC., BAD
BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY
ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, ORGANIZATIONAL
DOES 1-10, INDIVIDUAL DOES 1-10, AND
SHAWN CARTER,

Defendants.
ANALISA TORRES, District Judge:

By letter dated December 20, 2024, Plaintiff's counsel, Anthony Buzbee, represented that
he is admitted to practice in the Eastern District of New York and “intend[s] to apply for
reciprocal admission to the Southern District.” ECF No. 50 at 3. In his declaration dated
January 22, 2025, Buzbee stated that his application for reciprocal admission “is forthcoming.”
ECF No. 76 § 1.

Accordingly, by February 14, 2025, Buzbee shall file proof of admission on the docket.
SO ORDERED.

Dated: January 28, 2025

New York, New York O}-

ANALISA TORRES
United States District Judge

